     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 99-1375

                       ARNOLD N. DEARY,

                    Plaintiff, Appellant,

                              v.

                    CATHERINE C. MITRANO,

                     Defendant, Appellee.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

       [Hon. Reginald C. Lindsay, U.S. District Judge]

                            Before

                   Torruella, Chief Judge,
              Stahl and Lipez, Circuit Judges.

   Arnold N. Deary on brief pro se.
   Donald K. Stern, United States Attorney, and J. Mitch
MacDonald, Special Assistant U.S. Attorney, on brief for appellee.

December 9, 1999

          Per Curiam.   After carefully considering the briefs
and record on appeal, we affirm the judgment below.  The
appellee is absolutely immune from suit for claims arising from
her role in prosecuting the administrative action.  Butz v.
Economou, 438 U.S. 478, 516-517 (1978); Wang v. New Hampshire
Board of Registration in Medicine, 55 F.3d 698, 701 (1st Cir.
1995).
          The district court did not have subject matter
jurisdiction to review an order of the Federal Aviation
Administration.  49 U.S.C.  46110.  Review may only be
obtained by filing a petition for review in this court within
sixty days of the order, unless reasonable grounds are given
for delay.  49 U.S.C.  46110(a).
          Affirmed.  Loc.R. 27.1.  
